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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL No. 2179
“DEEPWATER HORIZON” in the

Gulf of Mexico, on April 20, 2010 SECTION: J
THIS DOCUMENT RELATES TO JUDGE BARBIJER

MAG. JUDGE SHUSHAN
10-CV-2771

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DECLARATION OF JAMES BURNS

Pursuant to 28 U.S.C. § 1746, the undersigned states as follows:

1. My name is James Burns, and I am over 21 years of age. I am currently the Chief
Sales and Marketing Officer and formerly the Chief Operating Officer for eMag Solutions, LLP
(“eMag Solutions’’), and make this Declaration in that capacity.

2. The information contained herein is based on my own personal knowledge and
my review of the information provided to me as part of my electronically-stored information
(“ESI”) assessment for each of the following state agencies: Louisiana Department of
Environmental Quality; Louisiana Department of Natural Resources; Louisiana office of Coastal
Protection and Restoration; Louisiana department of Public Safety; Louisiana Department of
Wildlife & Fisheries; Louisiana Oil Spill Coordinator’s Office, Louisiana Office of the
Governor; Louisiana Office of the Lieutenant Governor; Louisiana Department of Culture,
Recreation & Tourism; Louisiana Department of Economic Development; Louisiana Department
of Health & Hospitals; Louisiana Department of Social Services; Louisiana Department of

Transportation & Development; and Louisiana Department of Treasury (“State Agencies”).

3. eMag Solutions is an international business organization offering proactive and

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reactive electronic discovery and data management solutions for litigation, regulatory, and
compliance matters. eMag Solutions’ key service offerings include: data restoration, recovery,
and conversion, e-discovery, ESI assessment, collection, processing, review and production, and
computer forensics. eMag Solutions has over forty (40) years of experience working in the
electronic data environment, and is recognized as a leader in data restoration, conversion, and
processing of large pools of disparate legacy data.

4. I have been the Chief Sales and Marketing Officer for nine months and prior to
that I was the Chief Operating Officer for three (3) years. I have over twenty five (25) years of
experience in the information technology/electronic data industry. I have spent the past twelve
(12) years specifically dealing with electronic discovery.

5. As Chief Sales and Marketing Officer, I am responsible for interfacing with the
client, creating solutions based upon customer requirements, and implementing those solutions
through eMag Solution’s operations group. I am also responsible for overseeing and managing
the customer’s overall experience and satisfaction with services performed by eMag Solutions.

ESI Project & Estimated Costs

6. On or around August 25, 2011, eMag Solutions was formally retained by the
Louisiana Department of Justice, Office of the Attorney General (“State”) to assist with the
identification, collection, processing, review and production of the State Agencies’ ESI,
including email, from any device or other storage media, in response to the Phase I written
discovery requests made by BP in the above-identified litigation.

7. eMag Solutions began the project by meeting with each of the State Agencies to

assess the scope of each agency’s ESI and map out a plan for collecting such ESI from each of

the State Agencies. Based upon these initial assessment meetings, | anticipate the total collected

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ESI for the State Agencies will be in the range of 300 to 500 terabytes (“TBs”).' This project
will be one of the largest ESI collection efforts for government agencies ever for litigation.
Collecting such a vast amount of ESI is challenging in of itself as well as for a variety of other
reasons.

8. First, the scope of potentially relevant ESI varied widely for each of the State
Agencies. For example, regarding email, several of the State Agencies utilize Microsoft
Exchange 2007 systems, while other of the State Agencies utilize GroupWise or Lotus Notes
systems. Several of the State Agencies also use email archiving systems, such as Symantec
Enterprise Vault or Barracuda. In these cases, email must be collected from both the live email
and archive systems. Additionally, some archived ESI resides on tapes. The ESI collection
systems must be configured for each type of system in order to properly pull ESI. Similarly,
many of the State Agencies utilize disparate proprietary database systems for their ESI other than
email. The ESI collection systems must be configured for each type of these systems, too. There
are also user and group files shares at each of the State Agencies and, in many instances, spread
throughout the state at remote sites which also have to be collected. There is therefore
significant “setup” time as each ES] collection system is tasked to each source system.

9. Second, the location of each of the State Agencies’ source systems varied.
Differing physical location of source systems is significant because it requires that we move our
ESI collection systems between venues which in tum necessitates that the ESI collection system
complete its current project before it can be disconnected, moved to the next venue, reconnected,
configured and engage in collection. In an effort to minimize the impact of the various physical
locations of source systems, we have tasked five separate collection systems to this project.

Currently, four are on location and the fifth will be shortly. We anticipate having all five

' One terabyte equals 1,024 gigabytes (“GBs”) or 1,048,576 megabytes (“MBs”).

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collection systems running concurrently in approximately seven days so that we can collect ESI
from five separate locations simultaneously. I anticipate that the number of separate collection
systems will grow to 8 to 12 as we progress through all of the State Agencies.

10. Third, separate scopes of work and permissions were necessary for each of the
State Agencies. While every effort has been made to expedite finalizing and approving these
documents, the process nonetheless takes time, particularly because it involves 14 separate
agencies, each of which has to review, approve and finalize the documents before collection of
ESI may begin for such agency. eMag Solutions began collection of ESI on the 5" of September
after receiving executed scopes of work and permissions from certain priority agencies, while
others will be collected on a rolling basis. Given the process, the nature of the source systems
and the volume of ESI, collection took 21 days working around the clock addressing the email
for three agencies and a small portion of one agency’s group files shares. As of September 30,
2011, eMag Solutions had collected approximately 5.4 TBs of ESI from three of the State
Agencies.

11. Once ESI has been collected, it needs to be processed. Processing ESI includes
indexing, de-duping, date filtering, keyword search, and load file creation prior to inclusion on a
legal review system. Given the volume of data for this project, processing time will be
significant.

12. ¢Mag Solutions began processing the 5.4 TBs of collected data on September 30,
2011. Beginning on October 1, 2011, eMag Solutions encountered significant network
connectivity issues causing the indexing process to sustain unrecoverable failures during data

processing. These issues precluded the proper indexing and de-duping of the collected ESI as it

stopped the indexes from merging together into the overall review index. Accordingly, the data

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had to be re-processed. These processing issues were not finally resolved until October 4, 2011.

13. Beginning on October 4, 2011, eMag Solutions ran BP’s keyword search terms
and date ranges, as specified in the attached Exhibit A, against the processed ESI. The search
process, also known as “filtering,” resulted in 5-10 percent of the ESI being pulled back based on
keyword and date range.

14. ‘Significant difficulty was encountered during the filtering process due to the
keyword search terms. In order to run the keyword search terms efficiently and effectively, the
terms need to be “normalized,” or reduced into a single search string. Applying the normalized
filter to the ESI proved problematic because of the number of search terms that needed to be
applied. Essentially, the normalized single search string that resulted from BP’s search terms
was too long for the search engine and had to be broken into several logical pieces, which
necessitated more manual intervention in order to process the data and bring it back together as a
single searchable index. The filtering of the current ESI volume has been a 24-hour per day
process since it began and has involved the software vendor addressing ongoing issues in real-
time throughout the process.

15. Given the foregoing information, I anticipate that collecting, processing and
filtering of all of the State’s ESI will take 14 to 16 weeks based upon round-the-clock efforts.

16. The total anticipated cost to assess, collect, process and filter the ESI related to

the current project is estimated to be several millions of dollars.

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DECLARATION
I declare under penalty of perjury that the foregoing is true and correct. Executed on this

11" day of October, 2011.

JAMES B

